
343 So.2d 1063 (1977)
Walter J. HARRISON et al.
v.
Augustine ALOMBRO et al.
No. 59427.
Supreme Court of Louisiana.
March 25, 1977.
Writ denied. The result is correct.
TATE, J., is of the opinion that the writ should be granted to clarify that the action to remove a cloud on title is no longer applicable under the Code of Civil Procedure of 1960, which broadened the petition and possessory actions so as to include a comprehensive and coherent proceeding to decide land claims such as the present. See also La.C.Civ.P. art. 3654 to the same effect, with regard to declaratory judgments and other actions affecting ownership of real rights.
CALOGERO and DENNIS, JJ., are of the opinion the writ should be granted.
